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1    Lucio Celli
     89 Widmer Road
2    Wappingers Falls, New York 12590
     718-547-9675
3
                                        UNITED STATES COURT FOR THE
4
                                           DISTRICT OF COLUMBIA
5

6
     LUCIO CELLI,                                     Case No.: 21-cv-03359-CRC
7
     Plaintiff,
8                                                     MOTION TO HAVE THE US
     vs.                                              MARSHALLS SERVE JUDGES AND
9
                                                      AUSAS
10   Weingarten et al

11   Defendant
12

13                Dear Cooper:
14
         I am on probation now with terms of conditions that
15   have placed limitation upon my service upon certain
     parties named in the suit. I seek Your Honor’s help.
16

17   Here are the terms:
18         1. The defendant shall not call, email, fax, or
19            contact any judge of any court, or any judge’s
              chambers, including, without limitation, by U.S.
20            mail.
21         2. The defendant shall not make any phone calls or
              send any written correspondence (including e-mail)
22            to any prosecutor or government personnel and
23            shall not have any third party do so on his behalf
              (with the exception of counsel).
24         3. My lawyer said that ecf counts as service, which
25            after reviewing my annotated Federal Civil Rules
              and Procedures book, I know this to be true
26         4. I have my CJA lawyer telling me that the only
27            contact that I can have with with judges and AUSAS
              is via the docket
28
     MOTION TO HAVE THE US MARSHALLS SERVE JUDGES AND AUSAS - 1
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1        5. My CJA lawyer is required, who is named in this
2           suit, forward all papers from me to the AUSAs and
            I have him audio recorded telling me that is what
3           he and the AUSA Karamigious (also named) agreed
4           that he (Mr. Silverman) would send my papers—so
            this should not be an issue
5        6. My CJA lawyer prior to pleading guilty said that I
6           would be able to sue Judge Cogan, as he ensured
            that I was denied a fair trial and that my lawyers
7           would not do their jobs
8        7. Since, the guilty plea and sentencing everything
            has changed
9

10

11      Now, I hired a process server to docket the
     complaint with summons on various dockets because I am
12
     limited to this as the only way to seek a just remedy.
13   There is, however, a problem that my process server is
     finding, like half of the Judicial Conference belong to
14
     court of appeals and there are no calendars to find a
15   case to place the summons and complaints to fulfill
     service under Rule 5.
16

17                                        Part 1
18
     (b)(2)(E) sending it to a registered user by filing it
19   with the court's electronic-filing system or sending it
     by other electronic means that the person consented to
20
     in writing—in either of which events service is
21   complete upon filing or sending, but is not effective
     if the filer or sender learns that it did not reach the
22
     person to be served;
23
           So, filing the summons with complaints to certain cases where the
24
     judge presides over; this will ensure that the judge is served.
25
           However, as an example, Chief Judge Ann Livingston does not have a
26   calendar for my server to know what cases she is presiding over, so I cannot
27
     ensure she is served

28                                       Part 2
     MOTION TO HAVE THE US MARSHALLS SERVE JUDGES AND AUSAS - 2
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1    (b)(3) Using Court Facilities.
2
           I do not know what this means
3

4

5                                       Remedy
6
         I request that Your Honor appoint a CJA lawyer to
7    review my papers in this matter because I need counsel
8
     to serve my papers upon the government.

9        In addition, there is a conflict of interest
10
     between Mr. Silverman and I in this case because Mr.
     Silverman is named.
11

12
         I did put in a modification for these issues with
     Judge Engelmayer, but he called me stupid, crazy, and
13   even said, “you will never get justice here,” which is
14
     the reason that he is named with the issue that he
     practiced law on April 6, 2021. See 28 USC § 454.
15

16   Please Take Notice, Judge Engelmayer ignores me and
     every request
17

18   Please Take FURTHER Notice, Judge Engelmayer remained
     silent when I informed him that either or both AUSA
19   Bensing and/or Defender Olivera gave my health
20   information to the NYPOST, which the judge employed as
     his method of intimidation and coercion
21

22   Therefore, I know Judge Engelmayer will not answer the
     motion and there is four-month limitation on service
23   after summons have been issued and he will not answer
24   because he said, “you will never get justice in this
     court.”
25

26       I do not know if Your Honor can solve the issue
     with the service of judges, but I know that Your Honor
27   can provide me with a CJA lawyer who will not block me
28   from the court or from contacting AUSAs.
     MOTION TO HAVE THE US MARSHALLS SERVE JUDGES AND AUSAS - 3
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2        As it stands, I am being blocked from the AUSA by
     Mr. Silverman and is a colorable crime under 18 USC
3    §241 with Judge Engelmayer and AUSA Karamigious. As Mr.
4    Silverman told Judge Engelmayer, on 12/1/21, that it
     was not his job to forward any papers to the AUSAs
5

6        Please Take Notice, I have called, and will
     continue to call, lawyers to ask them if they will
7    service my papers and how much would it be?—I answer
8    has been flat no and I even offered 500, which is
     triple the amount of a process server and I was still
9    turned down.
10
           I pray for Your Honor’s help in this matter
11

12
                                                            ____________________
13                                                                   Lucio Celli
                                                                  December 30, 2021
14

15

16

17

18

19               Dated this 30th of December, 2021.

20

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22

23

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26                                                                 Lucio Celli, Defendant
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     MOTION TO HAVE THE US MARSHALLS SERVE JUDGES AND AUSAS - 4
